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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA
_______________________________________________________

BLACK LIVES MATTER D.C., et al.,                          )
                                                          )
                          Plaintiffs,                     )
        v.                                                )
                                                          ) Case No: 1:20-cv-01469-DLF
DONALD J. TRUMP, et al.,                                  )
                                                          )
                          Defendants.                     )
                                                          )


                                       NOTICE OF APPEARANCE

To the Clerk:


        Please enter the appearance of John B. F. Martin as attorney of record for United States

Park Police Officer Cara Seiberling in her individual capacity. Service of all papers regarding

Officer Seiberling, in her individual capacity, should be addressed as follows:

        JOHN B. F. MARTIN
        Trial Attorney, Constitutional Torts Staff
        Torts Branch, Civil Division
        U.S. Department of Justice
        Ben Franklin Station, P.O. Box 7146
        Washington, D.C. 20044-7146
        Tel:           (202) 616-4492
        Fax:           (202) 616-4314
        E-mail:        john.b.martin@usdoj.gov


Dated: November 13, 2020                                      Respectfully submitted,

                                                              JEFFREY BOSSERT CLARK
                                                              Acting Assistant Attorney General
                                                              Civil Division

                                                              C. SALVATORE D’ALESSIO, JR.
                                                              Acting Director
                                                              Torts Branch, Civil Division
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                                 /s/ John B. F. Martin
                                 John B. F. Martin
                                 Trial Attorney, Constitutional Torts Staff
                                 Torts Branch, Civil Division
                                 (Admitted to Practice as Government
                                 Counsel in this Court under Local Rule
                                 83.2(e))
                                 U.S. Department of Justice
                                 Ben Franklin Station, P.O. Box 7146
                                 Washington, D.C. 20044-7146
                                 T: (202) 616-4492; F: (202) 616-4314
                                 John.b.martin@usdoj.gov

                                 Attorney for Officer Cara Seiberling in her
                                 individual capacity
